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For the District of NewJersey

United States of America
ORDER SETTING CONDITIONS
OF RELEASE

Case Number: 2:20-CR-

WL

Richard L. Williams

 

Defendant

42US.C. § 14135a.

(3) The defendant must mmediatcly advise the court, defense counsel, and the U.S. atlorney in writing before
any change m address and/or telephone number.

(4) The defendant must appear in court as required and must surrender to serve any sentence imposed.

Release on Bond

Bail be fixed at $ 25.000 UNSECURED and the defendant shall be released upon:

(Xi) Executing an unsecured appearance bond ( ) with co-signor(s) ee ee ee
() Executing a secured appearance bond ( ) with co-signor(s) Be ee 9
depositing in cash in the registry of the Court ___%% of the bail fixed: and/or (}) execute an agreement to forfeit
designated property located at Local Crimmal Rule 46,1(d)(3) waived/not waived by the Court
{J Executing an appearance bond with approved sureties, or the deposit of cash in the full amount of the bail in Ika,

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personnel, including but not limited to, any arrest, questioning or traffic stop.
( 3 The defendent shall not attempt to influence, intimidate, or injure any juror of judicial officer; not tamper with any
witness, Victim, or informant, not retaliate against any witness, victim or informant in this case.
(MX) The defendant shall be released into the third party custody of Marta Cortina
rho agrees (a) to supervise the defendant in accordance with all the conditions of relecse, (B) to use every effort to
ecules! comrt . and (c) to notify the court immediately

asiure the appearance of the defendant
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(X) Surrender all passports and travel documents to PTS. Do not apply for new travel documents.

(X) Substance abuse testing and/or treatment as directed by PTS. Refrain from obstructing or tampering with substance
abuse testing procedures/equipment

(X) Surrender/do not possess any firearms, All firearms in any home in which the defendant resides shall be removed, in
compliance with New Jerscy state law, within 24 hours and verification provided to PTS. The defendant shall also
surrender all firearms purchaser's identification cards and permits to Pretrial Services.

( ) Mental health testing/treatment as directed by PTS.

(X) Abstain from the usc of alcohol.

( ) Maintain current residence or a residence approved by PTS.

( ) Maintain or actively seek employment and/or commence an education program.

C5 No contact with minors unless in the presence of a parent or guardian who is aware of the present offense.

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Have no contact with the following individuals:
) Defendant is to participate in one of the following home confinement program components and abide by all the
requirements of the program which ( ) will or ( ) will not inchide electronic monitoring or other location
verification system. You shall pay all or part of the cost of the program based upon your ability to pay as

determined by the pretrial services office or supervising officer,

{ ) @ Curfew. You are restricted to your residence every day ( ) from__ito
directed by the pretrial services office or supervising officer; or

() &@ Home Detention. You are restricted to your residence at all times except for the following:
visits; court appearances; court-ordered obligations; or other activities pre-approved by the
pretrial services office or supervising officer. Additionally, employment (_ ) is permitted ( jis
not permitted.

( ) Gi) Home Incarceration. You are restricted to your residence under 24 hour lock-down except
for medical necessities and court appearances, or other activities specifically approved by the
court.

{ ) Defendant is subject to the following computer/intemnct restrictions which may include manual inspection

and/or the installation of computer monitoring software, as deemed appropriate by Pretrial Services. ‘The

defendant shall pay all or part of the cost of the monitoring software bascd upon their ability to pay, as
Getermined by the pretrial services office or supervising officer.
() @ No Computers - defendant is prohibited from possession and/or use of computers or
connected devices,

() @ Computer - No Internet Access: defendant is permitted use of computers or connected devices,
but is not permitted access to the Internet (World Wide Web, FTP Sites, IRC Servers, Instant Messaging,
etc);

( ) @ Computer With Intemet Access: defendant is permitted use of computers or connected devices, and
is permitted access to the Internet (World Wide Web, FTP Sites, IRC Servers, Instant Messaging,
ctc.) for legitimate and necessary purposes pre-approved by Pretrial
Services at [ ] home [ ] for employment purposes.

( ) (@v) Consent of Other Residents -by consent of other residents in the home, any computers in the home
utilized by other residents shall be approved by Pretrial Services, password protected by a third party
custodian approved by Pretrial Scrvices, and subject to inspection for compliance by Pretrial Services.

{ )(v) Defendant consents to Pretrial Services” use of electronic detection devices to evaluate the defendant's
access to wi-fi connections.

 

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TO THE DEFENDANT: RICHARD L. WILLIAMS

YOU ARE ADVISED OF THE FOLLOWING PENALTIES AND SANCTIONS:

Violating any of the foregoing conditions of release may result in the immediate issuance of a warrant for your arrest, a
revocation of your release, an order of detention, a forfeiture of any bond, and a prosecution for contempt of court and could
result in imprisonment, a fine, or both.

While on release, if you commit a federal felony offense the punishment is an additional prison term of not more than
ten years and for a federal misdemeanor offense the punishment is an additional prison term of not more than onc year. This
sentence will be consecutive (i.¢., in addition to) to any other sentence you reccive.

It is a crime punishable by up to ten years in prison, and a $250,000 fine, or both, to: obstruct a criminal investigation;
tamper with a witness, victim, or informant; retaliate or atlempt to retaliate against a witness, victim, or informant: or intimidate
or attcmpt to mtrmidate a witness, victim, juror, informant, or officer of the court. The penaltics for tampering, retaliation, or
intimidation arc significantly more scrious if they involve a killing or attempted killing.

If, after release, you knowingly fail to appear as the conditions of release require, or to surrender to serve a sentence,
you may be prosecuted for failing to appear or surrender and additional punishment may be imposed. If you are convicted of:

(1) an offense punishable by death, life imprisonment, or imprisonment for a term of fifteen years or more - you
will be fined not more than $250,000 or imprisoned for not more than 10 years, or both;

(2) an offense punishable by imprisonment for a term of five years or more, but less than fifteen years — you will
be fined not more than $250,000 or imprisoned for not more than five years, or both;

(3) any other felony — you will be fined not more than $250,000 or imprisoned not more than two years, or both;

(4) a misdemeanor — you will be fined not more than $100,000 or imprisoned not more than one year, or both.

A term of imprisonment imposed for failure to appear or surrender will be consecutive to any other sentence you

receive. In addition, a failure to appear or surrender may result in the forfeiture of any bond posted.

Acknowledgment of the Defendant

1 acknowledge that | am the defendant in this case and that | am aware of the conditions of release, I promise to obey
all conditions of release, to appear as directed, and surrender to serve any sentence imposed. I am aware of the penalties and

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’ Defendant's Signature

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~ "City and State
Directions to the United States Marshal

 

( X ) The defendant is ORDERED released after processing.

(_ ) The United States marshal is ORDERED to keep the defendant in custody until notified by the clerk or
Judge that the defendant has posted bond and/or complied with all other conditions for release. If stil] in
custody, the defendant must be produced before the appropriate judge at the time and place specified.

Date:____ 12/1/2020 s/Susan D. Wigenton
Judicial Officer’s Signature

Hon. Susan D. Wigenton, U.S.D.J.
Printed name and title

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